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                                                                                                       EXHIBITA
                                                                                         STANDARDIZEDFUNDACCOUNTINGREPORT

                                                                            ReceivershipinSECv.TitaniumBlockchainInfrastructureServices,Inc.,etal.
                                                                                             CivilCourtDocketNo.18Ͳ4315DSF(JPRx)

                                                                                   ReportingPeriodͲ6/30/2021to03/31/2022




FundAccounting:
                                                                                                                 ReportingPeriod                   SubtotalPriorPeriods           GrandTotal
Line1       BeginningBalance(asof7/1/2021)                                                                             $21,180.60
              IncreasesinFundBalance:
Line2        BusinessIncome                                                                                                       $0.00                                 $0.00                          $0.00
Line3       CashandSecurities                                                                                                   $0.00                                 $0.00                          $0.00
Line4        Interest/DividendsIncome                                                                                             $0.00                                 $0.00                          $0.00
Line5        BusinessAssetLiquidation                                                                                      $157,616.00                            $45,190.13                    $202,806.13
Line6        PersonalAssetLiquidation                                                                                            $0.00                                 $0.00                          $0.00
Line7        ThirdͲPartyLitigationIncome                                                                                         $0.00                                 $0.00                          $0.00
Line8        MiscellaneousͲOther                                                                                                $0.00                                 $0.00                          $0.00
  Line8a     TotalFundsAvailable(Lines1Ͳ8)                                                                             $178,796.60                                 $0.00                    $178,796.60
              DecreasesinFundBalance:
Line9     DisbursementstoInvestors                                                                                              $0.00                                $0.00                           $0.00
Line10    DisbursementsforReceivershipOperations                                                                               $0.00                                $0.00                           $0.00
  Line10a DisbursementstoReceiverorOtherProfessionals                                                                    $155,599.76                          $119,279.74                    $274,879.50
  Line10b BusinessAssetExpenses                                                                                               $2,916.00                          $215,521.62                    $218,437.62
  Line10c PersonalAssetExpenses                                                                                                   $0.00                                $0.00                          $0.00
  Line10dInvestmentExpenses                                                                                                       $0.00                                $0.00                          $0.00
  Line10eThirdͲPartyLitigationExpenses
           1.AttorneysFees                                                                                                        $0.00                                $0.00                         $0.00
           2.LitigationExpenses                                                                                                   $0.00                                $0.00                         $0.00
           TotalThirdͲPartyLitigationExpenses                                                                                     $0.00                                $0.00                          $0.00
 Line10f TaxAdministratorFeesandBonds                                                                                          $0.00                                $0.00                          $0.00
 Line10g FederalandStateTaxPayments                                                                                            $0.00                                $0.00                         $0.00
           TotalDisbursementsforReceivershipOperations                                                                     $158,515.76                          $334,801.36                    $493,317.12

Line11    DisbursementsforDistributionExpensesPaidbytheFund:
  Line11a DistributionPlanDevelopmentExpenses:
            1.Fees                                                                                                                   $0.00                                  $0.00                       $0.00
            FundAdministration                                                                                             $0.00                                  $0.00                       $0.00
            IndependentDistributionConsultant(IDC)                                                                       $0.00                                  $0.00                       $0.00
            DistributionAgent                                                                                              $0.00                                  $0.00                       $0.00
            Consultants                                                                                                     $0.00                                  $0.00                       $0.00
            LegalAdvisers                                                                                                  $0.00                                  $0.00                       $0.00
            TaxAdvisers                                                                                                    $0.00                                  $0.00                       $0.00
            2.AdministrativeExpenses                                                                                               $0.00                                  $0.00                       $0.00
            3.Miscellaneous                                                                                                         $0.00                                  $0.00                       $0.00
            TotalPlanDevelopmentExpenses                                                                                           $0.00                                  $0.00                       $0.00
  Line11b DistributionPlanImplementationExpenses
            1.Fees                                                                                                                  $0.00                                  $0.00                       $0.00
            FundAdministration                                                                                              $0.00                                  $0.00                       $0.00
            IndependentDistributionConsultant(IDC)                                                                        $0.00                                  $0.00                       $0.00
            DistributionAgent                                                                                               $0.00                                  $0.00                       $0.00
            Consultants                                                                                                     $0.00                                  $0.00                       $0.00
            LegalAdvisers                                                                                                  $0.00                                  $0.00                       $0.00
            TaxAdvisers                                                                                                    $0.00                                  $0.00                       $0.00
            2.AdministrativeExpenses                                                                                               $0.00                                  $0.00                       $0.00
            3.InvestorIdentification                                                                                               $0.00                                  $0.00                       $0.00
            Notice/PublishingApprovedPlan                                                                                 $0.00                                  $0.00                       $0.00
            ClaimantIdentification                                                                                         $0.00                                  $0.00                       $0.00
            ClaimsProcessing                                                                                               $0.00                                  $0.00                       $0.00
            4.FundAdministratorBond                                                                                               $0.00                                  $0.00                       $0.00
            5.Miscellaneous                                                                                                         $0.00                                  $0.00                       $0.00
            6.FederalAccountforInvestorRestitution                                                                              $0.00                                  $0.00                       $0.00
            (FAIR)ReportingExpenses                                                                                                 $0.00                                  $0.00                       $0.00
            TotalPlanImplementationExpenses                                                                                        $0.00                                  $0.00                       $0.00
            TotalDisbursementsforDistributionExpensesPaidbytheFund                                                            $0.00                                  $0.00                       $0.00
Line12     DisbursementstoCourt/Other
  Line12a     InvestmentExpenses/CourtRegistryInvestmentSystem(CRIS)Fees                                                     $0.00                                $0.00                          $0.00
  Line12b     FederalTaxPayments                                                                                                 $0.00                                $0.00                          $0.00
            TotalDisbursementstoCourt/Other:                                                                                      $0.00                                $0.00                          $0.00
            TotalFundsDisbursed(Line9Ͳ11):                                                                                 $158,515.76                          $334,801.36                    $493,317.12
Line13     EndingBalance(Asof06/30/2021):                                                                                 $20,280.84
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Line14     EndingBalanceofFundͲNetAssets:
  Line14a    Cash&CashEquivalents                                                                                          $0.00                                $0.00                                   $0.00
  Line14b   Investments                                                                                                      $0.00                                $0.00                                   $0.00
  Line14c   OtherAssetsorUnclearedFunds(FrozenAccounts)                                                          SeeNote1                           SeeNote1                              SeeNote1
            TotalEndingBalanceofFundͲNetAssets                                                                         $0.00                                $0.00                                   $0.00


OtherSupplementalInformation:                                                                                     ReportingPeriod         SubtotalPriorPeriods                     GrandTotal
            ReportofItemsNOTToBePaidbytheFund:
Line15     DisbursementsforPlanAdministrationExpensesNotPaidbytheFund:
  Line15a PlanDevelopmentExpensesNotPaidbytheFund:
            1.Fees                                                                                                           $0.00                                  $0.00                                 $0.00
            FundAdministrator                                                                                         $0.00                                  $0.00                                 $0.00
            IDC                                                                                                        $0.00                                  $0.00                                 $0.00
            DistributionAgent                                                                                         $0.00                                  $0.00                                 $0.00
            Consultants                                                                                                $0.00                                  $0.00                                 $0.00
            LegalAdvisers                                                                                             $0.00                                  $0.00                                 $0.00
            TaxAdvisers                                                                                               $0.00                                  $0.00                                 $0.00
            2.AdministrativeExpenses                                                                                        $0.00                                  $0.00                                 $0.00
            3.Miscellaneous                                                                                                  $0.00                                  $0.00                                 $0.00
            TotalPlanDevelopmentExpensesNotPaidbytheFund                                                               $0.00                                  $0.00                                 $0.00
 Line15b   PlanImplementationExpensesNotPaidbytheFund:
            1.Fees                                                                                                           $0.00                                  $0.00                                 $0.00
            FundAdministrator                                                                                        $0.00                                  $0.00                                 $0.00
            IDC                                                                                                       $0.00                                  $0.00                                 $0.00
            DistributionAgent                                                                                        $0.00                                  $0.00                                 $0.00
            Consultants                                                                                               $0.00                                  $0.00                                 $0.00
            LegalAdvisers                                                                                            $0.00                                  $0.00                                 $0.00
            TaxAdvisers                                                                                              $0.00                                  $0.00                                 $0.00
            2.AdministrativeExpenses                                                                                        $0.00                                  $0.00                                 $0.00
            3.InvestorIdentification:                                                                                       $0.00                                  $0.00                                 $0.00
            Notice/PublishingApprovedPlan                                                                          $0.00                                  $0.00                                 $0.00
            ClaimantIdentification                                                                                  $0.00                                  $0.00                                 $0.00
            ClaimsProcessing                                                                                        $0.00                                  $0.00                                 $0.00
            WebSiteMaintenance/CallCenter                                                                         $0.00                                  $0.00                                 $0.00
            4.FundAdministratorBond                                                                                        $0.00                                  $0.00                                 $0.00
            5.Miscellaneous                                                                                                  $0.00                                  $0.00                                 $0.00
            6.FAIRReportingExpenses                                                                                        $0.00                                  $0.00                                 $0.00
            TotalPlanImplementationExpensesNotPaidbytheFund                                                            $0.00                                  $0.00                                 $0.00
 Line15c   TaxAdministratorFees&BondsNotPaidbytheFund                                                                $0.00                                  $0.00                                 $0.00

            TotalDisbursementsforPlanAdministrationExpensesNotPaidbytheFund                                          $0.00                                  $0.00                                 $0.00
Line16     DisbursementstoCourt/OtherNotPaidbytheFund                                                                 $0.00                                  $0.00                                 $0.00
  Line16a InvestmentExpenses/CRISFees                                                                                      $0.00                                  $0.00                                 $0.00
  Line16b FederalTaxPayments                                                                                                $0.00                                  $0.00                                 $0.00
             TotalDisbursementstoCourt/OtherNotPaidbyFund:                                                              $0.00                                  $0.00                                 $0.00
Line17     DC&StateTaxPayments                                                                                           $0.00                                  $0.00                                 $0.00
Line18     No.ofClaims:
  Line18a #ofClaimsReceivedThisReportingPeriod                                                                           620                                   410                                  1030
  Line18b #ofClaimsReceivedSinceInceptionofFund                                                                        1030                                   193                                  1030
Line19     No.ofClaimants/Investors
  Line19a #ofClaimants/InvestorsPaidThisReportingPeriod                                                                     0                                     0                                      0
  Line19b #ofClaimants/InvestorsPaidSinceInceptionofFund                                                                   0                                     0                                      0
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Notes:

1)          ThereceivershipholdsthefollowingnonͲcashbusinessassets:                             AmountofUnits(ifapplicable) UnitValue(asof03/31/2022)**    AgreggateValue(asof03/31/2022)
            Bitcoin(BTC)                                                                                                     113.471                         $45,538.68                            $5,167,319.56
            BitcoinSV(BSV)                                                                                                  1.55416                              $94.54                                $146.93
            Ether(ETH)                                                                                                       2151.37                           $3,281.64                           $7,060,021.85
            Zcash(ZEC)                                                                                                        7.9046                            $178.02                                $1,407.18
            Litecoin(LTC)                                                                                                    4358.11                            $123.72                              $539,185.37
            BitcoinCash(BCH)                                                                                              0.0004694                            $384.04                                    $0.18
            Electroneum(ETN)                                                                                              21,035,514                          $0.006191                              $130,230.87
            OMG(OMG)                                                                                                   51.56000141                                 $5.49                                $283.06
            Computerequipment,televisions,phones                                                                                                                      $2,000.00(est)
                                                                                                                                       Total                                                       $12,900,594.99
            *AsofJune1,2022,thetotalapproximatevalueofthecryptocurrencieslistedaboveis
            $7,664,102.75.Thereissignificantmarketvolatilityinthepricesofmostofthese
            cryptocurrencies.

            **sourcedfromhttps://coinmarketcap.com/
